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COLEMAN & BALOGH LLP
Ethan A. Balogh, No. 172224
235 Montgomery Street, Suite 1070 SF, CA, 94104
Telephone/Fax: 415.391.0440/415.373.3901
eab@colemanbalogh.com

                                                     UNITED STATES DISTRICT COURT
                                                    CENTRAL DISTRICT OF CALIFORNIA
United States of America
                                                                                        DISTRICT COURT CASE NO: 17 Cr. 00697 SJO

                                                                     PLAINTIFF          APPEALS COURT CASE NO: 19-50300
                                         v.
Daniel Flint
                                                                                                     TRANSCRIPT DESIGNATION FORM
                                                                 DEFENDANT.
INSTRUCTIONS:
For additional information about designating transcripts on appeal, refer to the Federal Rules of Appellate Procedure, the local rules of the circuit in which the appeal is
pending, and the instructions below. Please file a separate Transcript Designation Form ("TDF") in each district court case in which transcripts are being designated.
1. Decide Which Transcripts to Designate. The parties to the appeal must each decide which parts of the proceedings in this Court are necessary to the record on
appeal, and ensure that a transcript is prepared for each such part, which must be listed in the chart below (attach additional pages if necessary). If you do not intend to
designate any transcipts of the proceedings in this Court as part of the record on appeal, you must so indicate below.
2. Determine Whether Those Transcripts Have Already Been Filed. For each proceeding listed in the chart below, you must review the Court's docket to see if a
transcript has already been prepared and filed. If it has, provide the docket number; if not, check the box to indicate that you have ordered it.
3. Order Any Transcripts That Have Not Yet Been Filed. Before filing this form, you must complete and submit a G-120 Transcript Order Form for any transcripts
not already on the docket. IMPORTANT: Transcripts are not considered ordered until the G-120 form has been submitted and you have made payment arrangements
with the court reporter or transcription company, or received authorization for the transcript to be paid for out of Criminal Justice Act ("CJA") funds.

                        JUDGE                                                                                                                    TRANSCRIPT E-FILED?
     DATE                                       PROCEEDING TYPE / PORTION                                 COURT REPORTER
                        (initials)                                                                                                               CM/ECF DOCKET NO.?

  06/21/2018             SJO          Status Conference                                          Carol Zurborg                                
                                                                                                                                              ✔
                                                                                                                                                Yes; Dkt # 121
                                                                                                                                               No; I have ordered it.
                                                                                                                                              
                                                                                                                                              ✔
                                                                                                                                                Yes; Dkt # 117
  10/16/2018             SJO          Jury Trial Day 1/ Begun                                    Carol Zurborg                                 No; I have ordered it.

                                                                                                                                              
                                                                                                                                              ✔
                                                                                                                                                Yes; Dkt # 118
  10/17/2018             SJO          Jury Trial Day 2                                           Carol Zurborg                                 No; I have ordered it.

                                                                                                                                              
                                                                                                                                              ✔
                                                                                                                                                Yes; Dkt # 119
  10/18/2018              SJO          Jury Trial Day 3                                          Carol Zurborg                                 No; I have ordered it.

                                                                                                                                              
                                                                                                                                              ✔
                                                                                                                                                Yes; Dkt # 120
  10/19/2018              SJO         Jury Trial Day 4                                           Carol Zurborg                                 No; I have ordered it.

                                                                                                                                               Yes; Dkt #
  09/16/2019             SJO          Sentencing Hearing                                         Sherri Kleeger                               ✔ No; I have ordered it.
                                                                                                                                              

                                                                                                                                               Yes; Dkt #
                                                                                                                                               No; I have ordered it.

                                                                                                                                               Yes; Dkt #
                                                                                                                                               No; I have ordered it.

I hereby certify that (check one of the following and sign below):                                                        Continued on additional page(s)?  Yes 
                                                                                                                                                                 ✔ No




    I do not intend to designate any portion of the transcript.
    All transcripts listed above are already on file in the U.S. District Court case at the docket numbers provided.
    All transcripts listed above that are not already on file in the U.S. District Court have been ordered. I have submitted one or more
    G-120 Transcript Order Forms in accordance with that form's instructions, and have made all necessary payment arrangements.
    I will pay all charges for transcripts I have ordered, or, where applicable, take all necessary steps to secure payment under the CJA.
    (Indicate here if CJA funds to be used:  .)
                                                            Date      12/02/2019                   Signature /s/ E A Balogh

G-126 (10/15)                                                   TRANSCRIPT DESIGNATION FORM
